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     /l/},1.,1.,.AflQ      :r:     t..,,M.f<•Ey
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  tt11'&:>   sP~1o9-1            re g,11 s   7i   7w                                                                                        MAY ot 2020
                                                                                                                            YD. MARK JONES, CLERK
                                                                                                                                           DEPUTY CLEFlK

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    /Jefc?1v__a1LAJf ~ A.✓O(,l) t"o /fl)O~S 71,,s ltt>Na,e_;q~/e.. <!.c>u"A.t1--br1~n,__,__~_c~::>_ _
   .rrs .i'lT<-!A!Tl&J U.S.._ v. S~J,-A/_1_c.~-Q~ce. 2. ~-7_ ( IJ~r<) (€~V .. N, y) A l!&~L_L(2;2A 2-0..,
   The <:.cx;,td"____&,~~T ''-E,e""" where [.t1vM11\/1_S:'C&ltu_v~J~h~,..,snc;I\I t ..s                   __
-~ftJ1.a11.L.y_m_~l¥/J11.7e.D                     137
                                            57ieJ"Tu6 a le '9r:::~L~~t-_Y_"1L. ~.e~Ul'tze,ri.fi!.pz r                 :
   Is tvo7 /1/JS/Jl,._cl/E.."' W-li,56.u1f:/-~V. /J/l~f'l./ 92.5. t=;_ __2r:__£ Jo9;_llft._UNo Cu, 2.0t<f,& Th_e,. __                                                                                          1




 c!.t'K;;)N wed:? ON -to SAJy_ T/2.g__r__ 1-1 r/ e.cx,,..,<'T /bJ~.1.7-. WA;ve .,,;/&_ /1-t)M;Nr S7,K!_A_t7_/L.i.. .

  e::>"<hRosTJoN r~nemen. T •$- whe.v-e. Lei:hA(->s'l'1~ WooL-12~1-'c>11u=· ··~..,__·~--
- w&ef'e           T/,'2 l'Jotfl.LVW ,.j_£__~~n,eer.s                              wo~-'Lb           ~e          /1V<!.A.PAl'.Jle                  of ~..rArifi-'1,__'f-,._--~
__:t/_JJ€ <!f.J,,,!..A_~   €"-8 t.~1   eL_,,,_..__[oB,J ,w/4e~ p '""~ Sc.1111_,1-,.L5J-~..d!!.X.!,,~                             If"€ 1.t/P--W--'.U=e:,=o=L~=o~--
-~:r~ L The PerS6N .5ee R.,,1t2<7 t-eue.£1 -fo~t)_,~_Ere.Ju121ee. ,z n~elf.,,._""_ _
_Cu;JN- oc.lf!! tJ.e_U'J_¥---,,,--L.£ 1T LijJ__'f31.c.r._'rl;;.1i.C1i~f"s IN CA-r..t1..s-T-.i:~E.6-'--r:_,__beA-'='L.4~----
  Co1;,seJS,e1z(!.!f:-J_~ C&/v Josr✓£'1-' L.u./1/V;il?~ -.-<JN ~0/73/A.11.SrP.lfJ~ve elt:6..&u-S"T--/CJ~N~----
   r-e'j-<'LL~etn. T f'o & 19 N ~ c,f ,~(1s ~                                n,
                                                       ~,e___~.t/_s.o__~--~~---' °i:(, ,&I__j_~_o _ ~ _,,,____ __

___£_,_    7ne        .?/4.J__ofet_e_{/:th_a:Je.,a TIJ A1 T r/2~                               Cc
                                                                                   v I ~ [ / J . ~ /;.15;_                                                             ~G~r------
 .DTvAJIJ 0~ 'f- Fe I __C:._t:)/!'YJL!J;1~.a w "th S_i/J-..,J'..1.J!,,2, 1~___ Li_ni_lI____fJ__f, J~CLf.fkgm 'f--J_ef,.,_E,_~-----
 (!om/J(,1 c..~7toA) ,S 6.ea,<J!~Se c-;# hi~ -Ar11ec.r@s10AI' J7~su.f?~ l,v~zt,eLfL.,, u .._l~b~e..______
-~-;1~lu27 liie oefir-tti~.lfAT t.4-IC>,,,,,.~ <:3K/?/ereo<$e. ,# he /24 o f-o w.,q,7:.__ _
  fo.A?. 30 0A}'S be-k1/.1Ja. f2-tJ!.~S5!1&'1, /1- /?/Je>T'loN /l;_/.L <!,c,m_~Are ,,_e/eAJS.<:e
  /AJ llJts (!au4T t;LJC>t."'-~P pe..7 hLn•2._-A_r.__12LftV.Lf't_e.__~~ of .J 0f!fe.P1_n'1-~-
                                                                                                                                                                          - - - ---~~~~-
                            Case 2:15-cr-00368-DN Document 39 Filed 05/04/20 Page 2 of 3




     r/2€ c!,e>tj.e_t 4 lso       ST&eo       r/219 7 e.t'r&!;,t0~.0/,2.lf..t.   r   A ~ t!omre~C,~                  t-e4$,W.S
____:jA}_LJ_r__rj]nJlf>P   .S-1,ua-z~'s y,e/eAse____b_!!J_re     13to,_   1A!AY, of·        77-,e Cov;p~l9
_p.1uv1Jet?,11~ Com/3/.&tJ w/Th !JrJ w1a,z.J s -jJ...i.iJl.Cul~,r. l.il.lLtved                                &IJ'''-"LY
                                                                                     n
  fd Ct>mPt.1C,<rttc)N.s__l!~m-.&J v:l p--/ 9 lc2eC~QS!e o-f /..5 /4*e.fl"fet.l.ilO~N~"-----
-----·····--·----------------------------------
   f!Au.J 1e2- 1s Cc)rn~~'{)1le te leoSS:,,,_M...nfLoN.                     wd ~         ~ t-A o..Te o   .1'9 ;v a   /2, 5
   Se n1e11ee.         luJ?~__hBo~a Tt"J ~/l':Kf?. .5el'!_ _fl.e~.., fie w&_:; o,e;(;(.f!e,-eo               r~   me
___!_/1?tne.I:!..tAJ7"e.t....ct_c.et.e..As.eo.-Y /OeJ{U T4fi?. }t':.eee '-/'         r    of- 1'1 ~s c·~ A!?E::~~___s_~~-
---12l'P.a9'!?,f2_.f..o__l!:i__fM_r_;S___L,v 9-. <:.1.A.&.~ZL.17,_e_ ___A T Q.t<'J.tl,)_/5(~_)_A_l'V1J__ hf2__,0 ,tLs_ f (".)___
   /Je 6eM~.o__& ./JL"ln-ue--~Q€---122.se._t127 "Tl,117 o,aLuotZQ home
__/IJ.....(!,,&Rt!,e~~-Zt.OA/__ f-o.._£5.£, eNk,e.eP /J y.-_Loc&.22otv____!h1:M..u . L < 2 ! 2 . 1 . ~ ~ ~ - - - - - - - -

     o.e PeAJ tJ;i NT ~ ,,.f!.fv?vis fil"C.)M fly~(?t2Stt.'>Al~_.f!.,o/f'.C7NJLIU.,1 A~lel'?.~( fJ,1,se;1.13e , - J
                     o
~h roN tc.. filr~u:..rLuF Bu I-& ,>N ,</ rt 7__ 01-5~.s_e-19.LJL,(L ~ ~, ~ s b ~.c K..                             .
~. .S...0~¥8~ ... 1N AP1217JDJJJ._tn..b.ls_ -~lf:iu:;,.AL...-12..1.it::J..oe.1.&~~--------------

    Tl'J:3 lle.f::rva;qt1{_fr,19Jts   7nA7   TIJ,s f(Olvoe&JSLe_ (l~T P~s 7~..lr.T ,l,i!J<!,___"1_~
    /.JIU/) <jJ!lUi]S... :belt~.£ ~    D~-~e.=tl=eD~.:--------



     /vJ 1l.lARtJ ✓- Lon~-y--------------------------'
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                                  UNITED STATES QEPARTMENT OF JUSTiCE
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